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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

WHOLE WOMEN’S HEALTH, et al.,                          §
                                                       §
                Plaintiffs,                            §
                                                       §
v.                                                     §                  1:21-CV-616-RP
                                                       §
JUDGE AUSTIN REEVE JACKSON, et. al.,                   §
                                                       §
                Defendants.                            §

                                              ORDER
        Before the Court is Defendants’ opposed motion to stay case and vacate the preliminary

injunction hearing. (Dkt. 84). Plaintiffs filed a response, (Dkt. 86), and Defendants’ filed a reply,

(Dkt. 87). Having reviewed the parties’ briefs and the relevant law, the court will grant in part

and deny in part Defendants’ motion.

        Defendants ask the Court to stay this case and vacate the upcoming preliminary

injunction hearing because they have appealed this Court’s order denying their motions to

dismiss, (Order, Dkt. 82; Not. Appeal, Dkt. 83). Defendants argue that this Court lacks

jurisdiction over this case because they have appealed the Court’s denial of their claims of

sovereign immunity under the collateral order doctrine. (Dkt. 84, at 1). Under the collateral order

doctrine, Defendants may appeal a denial of a motion to dismiss asserting sovereign immunity.

(Id.) (citing McCarthy ex rel. Travis v. Hawkins, 381 F.3d 407, 411–12 (5th Cir. 2004)). In their

response, Plaintiffs ask the Court to retain jurisdiction by certifying Defendants’ appeal as

“frivolous or dilatory.” (Dkt. 86, at 2) (citing BancPass, Inc. v. Highway Toll Admin., L.L.C., 863

F.3d 391, 399 (5th Cir. 2017)). The Court is unwilling to make an “express finding of

frivolousness” as to Defendants’ appeal and rejects Plaintiffs’ invitation to do so at this time.

BancPass, Inc., 863 F.3d at 400.

        Nonetheless, the Court finds that only Defendants Allison Vordenbaumen Benz,

Stephen Brint Carlton, Ken Paxton, Katherine A. Thomas, Cecile Erwin Young, Austin Reeve


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Jackson, Penny Clarkston (“the State Defendants”) have asserted that they are immune from suit

under the doctrine of sovereign immunty. (See Mots. Dismiss, Dkts. 48, 49, 50, 51). The Court

will thus grant Defendants’ motion as to the State Defendants.

        Defendant Mark Lee Dickson (“Dickson”), however, has not asserted that he is entitled

to sovereign immunity, and as a private actor, he could not make such a claim. As Defendants

acknowledge in their reply, their appeal has only divested this Court of jurisidiction as to the

State Defendants. (Reply, Dkt. 87, at 1). Defendants attempt to couch Dickson’s standing to

appeal this Court’s order by citing to cases dealing with appeals of final orders or interlocutory

appeals by state actors claiming sovereign immuntiy. (Dkt. 87, at 2) (citing Hollingsworth v. Perry,

570 U.S. 693, 704 (2013); Hospitality House, Inc. v. Gilbert, 298 F.3d 424, 429 (5th Cir. 2002) (court

reviewed subject matter jurisdiction in state health official’s collateral order doctrine appeal of

denial of motion to dismiss)). None of these cases are relevant here. Given that Dickson has

made no claim to sovereign immunity, the denial of his motion to dismiss is not appealable.

Newball v. Offshore Logistics Int’l, 803 F.2d 821, 824 (5th Cir. 1986). Moreover, Dickson does not

provide the Court with a legitimate independent basis for staying the proceedings as to him.

Finding that Dickson has not shown good cause as to why the proceedings against him should

not go forward, the Court denies Defendants’ motion as to Dickson.

        Accordingly, IT IS ORDERED that Defendants’ opposed motion to stay case and

vacate the preliminary injunction hearing, (Dkt. 84), is GRANTED IN PART and DENIED

IN PART. Defendants’ motion is granted as to the State Defendants and denied as to Dickson.

        SIGNED on August 27, 2021.




                                                 _____________________________________
                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




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